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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                JONESBORO DIVISION

UNITED STATES OF AMERICA                                                           PETITIONER

v.                             Case No. 3:18-cv-00025-KGB

RACHELLE ELDRIDGE, a/k/a
RACHELLE ELDRIDGE-BRAY                                                           RESPONDENT

                                            ORDER

       Before the Court is a notice of resolution filed by the United States on behalf of its agency

the Internal Revenue Service (“IRS”) (Dkt. No. 8). The United States represents that its petition

to enforce the IRS summons has been resolved and that the case may be dismissed (Id.).

Accordingly, the Court dismisses without prejudice the action. The Court directs the Clerk to close

the case.

       It is so ordered this 6th day of May, 2019.

                                                     _________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
